Case 2:O4-cr-20l40-.]PI\/| Document 215 Filed 07/27/05 Page 1 of 2 Page|D 289

IN THE uNITED sTATEs DISTRICT CoURTFlF-W me D-C‘

 

    

FOR THE WESTERN DISTRICT 0F TENNESS[§§§ _
WESTERN DIVISION JUL 27 Pl“| |- l h
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UNITED sTATEs oF AMERICA C‘~K;£;{;r_'~`;_;_ 'IH§§URT
V.
ANTHONY BERNARD MACK 04cr20140_5_M1

 

SUPERSEDING INDICTMENT
ORDER ON ARRAIGNMENT

 

This cause came to be heard on Q/bb£t,` g z §§U> the United States Attorney
for this district appeared on behalf of the gééernmdvlt, and the defendant appeared in person and With
counsel:

v
NAME g ma W" CCM¢L-'\ who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

f The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (`being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. _
/()_j m /(. WM£/yr
UNITED STATES MAGISTRATE ]UDGE

 

CHARGES - 18:1951.F
INTERFERENCE VVITH COMMERCE BY THREAT OR VIOLENCE

Attorney assigned to Case: T. Arvin
Age: 3[/

sheet in compliance
Thls document entered on the docket f

with F\u\e 55 and/or 32('0) FRCrP on

 

   

UNITED `sATEs DISTRICT COURT - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 215 in
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Tony R. Arvin

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Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

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Honorable J on McCalla
US DISTRICT COURT

